Case 1-19-43692-cec Doc17 Filed 07/26/19 Entered 07/26/19 17:29:55

UNITED STATES BANKRUPTCY COURT Return Date: August 15, 2019
EASTERN DISTRICT OF NEW YORK Time: 10:00 a.m.
Xx
— eee ee ee ee ee CLERK
7 U.S. BANKRUPTCY COURT
Inte: EASTERN DISTRICT OF NEW YORK

RECEIVED - BROOKLYN

& oa Sh Pe
{ub 44 2079 Psa: 3a

CAROLYN CORDELIA MILES Chapter‘
aka Carolyn Cordelia Brown Case No.: 19-43692-608

Debtor

RESPONSE TO NOTICE OF MOTION
To the Honorable Judge Carla E. Craig;

I Carolyn Cordelia Miles the Debtor in the above captioned bankruptcy proceeding, repectfully
Object to the Motion filed by Trustee Michael Macco for the following relief, to have my case
dismissed with prejudice.

In support of this objection, I hereby allege as follows:

Upon filing the first motion for Chapter 13 on April 9, 1019, I had just lost a family member and
didn’t realize the ramifications that if left for me. My Uncle who was responsible for his 84 year old
mother died and the burden somehow was thrown to me. She lives in Snellville, GA and between
the travel, my financial situation and many events that have to transpire to stabilize her situation, I
have been overwhelmed.

The manner in which everything developed allowed me to believe at the second filing that I would
be able to complete all the task required for the filing. I tried to retain legal counsel but was told that
the payment would have to be in full since it was already filed.

lam currently at this minute filing what I have and promise on Monday the 29, of July to bring all
the necessary papers. I would still need several weeks to pay the fees and would be able to be in

Court on August 15" with the action completely prepared.

The automatic stay is not the reason for this filing at all. ] went an entire year without employment
and could not catch up.

[have no real benefit from the stay other than utilities and they are also eligible for Public Assistance
if needed.

I have a foreclosure action in Richmond County Supreme Court, under filed #: 135415/2017, but
Case 1-19-43692-cec Doc17 Filed 07/26/19 Entered 07/26/19 17:29:55

we haven’t even went to the Discovery phase nor have I completed my motion or answer. Iam a
long way from benefitting from a stay there and furthermore, I did not know that action would fall
under this bankruptcy on my first Chapter 13 filing. The property is under the Estate of my mother
in which J am the heir. I was not aware it would be considered my debt.

There is not a grand amount of debt and the concerning debt is to my condominium which would
be paid at 100% of the correct amount and my student loan which will also be paid at 100%. I did
file for bankruptcy in 2007 under a Chapter 7 and was able to pull my life back together and I was
hoping for the same this time with a Chapter 13 being able to pay all the pre debts.
Wherefore, I respectfully request that this Court enter an opdér denying the relief requested.

\

Dated: July 26, 2019

 

By | | .
\Gareivh Cordelia Miles
38A Marc Street
Staten Island, New York 10314
646.651.2434
